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                                       UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          GENERAL ORDER 20-0012

                                                March 12, 2020

                        IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY


       The Governor of the State of Illinois has declared a public health emergency throughout the state in

response to the spread of the coronavirus and COVID-19.

       The Centers for Disease Control and Prevention and other public health authorities have advised the

taking of precautions to reduce the possibility of exposure to the virus and slow the spread of the disease.

       NOW, THEREFORE, in order to protect public health, and in order to reduce the size of public

gatherings and reduce unnecessary travel, the United States District Court for the Northern District of Illinois

hereby issues the following order effective immediately:

   1. The United States Courthouses in Chicago and Rockford, Illinois will remain open for business, subject

       to the following limitations.

   2. The following events in the Northern District of Illinois, scheduled to begin before April 3, 2020, are

       continued pending further order of the Court:

           All civil jury trials

           Second Chance reentry court proceedings

           Veterans Treatment court proceedings

           Petty Offense (CVB) proceedings

           Settlement conferences (other than by telephone)

        The Court may issue other orders concerning future continuances as necessary and appropriate.

   3. Criminal case proceedings will continue. The Court is cognizant of the right of criminal defendants to a

       speedy and public trial under the Sixth Amendment, and the particular application of that right in cases

       involving defendants who are detained pending trial. Individual judges presiding over criminal

       proceedings may take such actions consistent with this order as may be lawful and appropriate to

       ensure the fairness of the proceedings and preserve the rights of the parties.
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4. The time period of any continuance entered through April 6 as a result of this order shall be excluded

    under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), as the Court finds that the ends of justice served

    by taking that action outweigh the interests of the parties and the public in a speedy trial. The Court

    may extend the period of exclusion as circumstances may warrant.

5. Judges may conduct court proceedings by telephone or video conferencing where practicable.

6. Criminal matters before Magistrate Judges, such as initial appearances, arraignments, detention

    hearings, and the issuance of search warrants, shall continue to take place in the ordinary course.

7. Grand juries shall continue to meet.

8. Deliveries of documents of any kind must be made to the drop boxes (in the lobby of the Dirksen

    Courthouse in Chicago or the 2nd floor of the Roszkowski Courthouse in Rockford), or the Clerk’s

    Offices. No document deliveries shall be made to chambers.

9. Effective March 14, all mass public gatherings, other than court proceedings, are suspended at both the

    Everett McKinley Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S. Courthouse

    in Rockford. This includes, but is not limited to group tours and visits, moot courts and mock trials, bar

    group meetings, seminars, and naturalization ceremonies.

10. The Clerk’s Office, Probation, Pretrial Services, and all other Court services shall remain open.

11. The U.S. District Court for the Northern District of Illinois shall remain open for all other business. Staff

    in the Clerk’s Offices are available by telephone, mail will be received, and intake desks remain open

    for filings. Electronic filings may still be made through the CM/ECF system. The public is encouraged

    to continue utilizing Court services while following all applicable public health guidelines.

12. The Court will vacate or amend this General Order no later than April 3, 2020.



                                   ENTER:

                                   FOR THE COURT




                                                      Chief Judge


Dated at Chicago, Illinois this 12th day of March, 2020
